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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )      Criminal No. 18-292
                                               )
ROBERT BOWERS                                  )


                                NOTICE & ORDER OF COURT

       AND NOW, this 19th day of September, 2022, the Court hereby advises the parties and

counsel that the Court has identified April 24, 2023 as the presumptive first day of voir dire in this

matter. The Court anticipates that the summons and juror questionnaire processes will be

scheduled and completed appropriately in advance of April 24, 2023 to allow for the

commencement of voir dire on April 24, 2023, with trial, opening instructions, and opening

statements to commence immediately following the completion of voir dire.

       Counsel and the parties are advised of this date in advance so as to allow for the clearing

of personal and professional calendars such that the parties and counsel are prepared to proceed

with the voir dire process beginning April 24, 2023, (the preceding juror summons and

questionnaire process) and, of course, trial to its conclusion. The Court anticipates that the parties

will consider this Order when preparing their joint status report and/or any individual status reports

ahead of the upcoming October 6, 2022 status conference in this matter.

                                                              BY THE COURT:

                                                              /s/Robert J. Colville______
                                                              Robert J. Colville
                                                              United States District Judge

cc:    All counsel of record
       Jury Office
       United States Marshals Office
       Clerk of Court
